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                  UNITED STATES COURT OF INTERNATIONAL TRADE
                               One Federal Plaza
                        New York, New York 10278-0001

 CHAMBERS OF
M. Miller Baker
     Judge
                                                 September 13, 2022
(Via CM/ECF)
 Whitney M. Rolig, Esq.                  Brian M. Boynton, Esq.
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 1090 Vermont Avenue, N.W.               1401 Constitution Avenue, NW
 Suite 410                               Room A205
 Washington, DC 20005                    Washington, DC 20230

       Re:    New American Keg v. U.S.
              Court No. 20-00008

Dear Counsel:

      As you know, today I issued a confidential slip opinion in this case. I
intend to issue a public version of the opinion on Wednesday, September 21,
2022. In the confidential opinion, material from the administrative record that
was designated as confidential is set off in double brackets.

       Please review the confidential opinion and inform these chambers no
later than Tuesday, September 20, 2022, whether any party disagrees with or
wishes to waive the redactions.
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     Please respond by CM/ECF and file under seal if necessary.

     Thank you in advance for your assistance with this matter.

                                              Sincerely,

                                              /s/ M. Miller Baker
                                              M. Miller Baker, Judge
